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                 EXHIBIT B-168
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        ORiGINAL
                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA


IN RE: SPECIAL PURPOSE                       )       Case No.: 2022-EX-000024
GRANDJURY                                    )
                                             )
                                             )
______________                               )


                            MOTION FOR RECONSIDERATION


         COMES NOW President Donald J. Trump, by and through undersigned counsel,and

files this Motion for Reconsideration of the Request for Time to File a Reply filed on May 16,

2023.


         On March 20, 2023, President Trump filed a Motion to Quash the Special Purpose Grand

Jury Report, Preclude the Use of Any Evidence Derived Therefrom, and Recuse the Fulton

County District Attorney's Office. The Court ordered the State to respond by May 1, 2023.

Thereafter, on April 28, 2023, Cathleen Latham, another party with a stake in the outcome, filed

her own motion joining President Trump's, seeking the same relief. In light of Ms. Latham's

joining, this Court extended the State's deadline for filing a response to May 15, 2023-an

extension of 14 days .


        .The State responded accordingly on May 15, 2023. Later that same day, a group of

"Media Intervenors," none a party to the issue, filed a brief in opposition to President Trump and

Ms. Latham's motions. The next day, President Trump sought leave to file a reply to the State's

and Media Intervenors' responses. This Court denied President Trump's request on May 19,

2023. After the Court's May 19 order, yet another nonparty interjected: A group of"former
          Case 1:23-cv-03721-SCJ Document 1-180 Filed 08/21/23 Page 3 of 5
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    federal and Georgia state prosecutors" (hereinafter "Former Prosecutors") filed a motion of amici

    curiae in opposition to President Trump's motion.


             Georgia's Uniform Superior Court rules do not contemplate amicus briefs, much less

    amicus motions, unlike the rules of the Supreme Court and Court of Appeals of Georgia, as well

    as the Federal Rules of Appellate Procedure and the United States Supreme Court's Rules.

    Additionally, "[t]he term 'amicus curiae' means friend of the court, not friend of a party." Ryan

    v. Commodity Futures Trading Commission, 135 F.3d 1062, 1063 (7th Cir. 1997) (Chief Judge

    Posner, in chambers). Here, the Former Prosecutors' brief attempts to buttress the State's

    Response and fails to provide new information or expertise to the Court. Moreover, the interest

    of the amici curiae is nebulous-"ensuring           that all parties potentially subject to criminal

    investigation abide by the well-established processes and precedent governing ongoing criminal

    matters." Former Prosecutors' Motion p. 2. To allow an amicus with such an interest would open

    the floodgates, inviting any outside party who desires to inject an opinion, whether about the

    procedural functioning of this investigation or the criminal judicial system as a whole, to file an

    unsolicited and unobliging amicus brief, as the Former Prosecutors have done here. 1


             At this point, three different entities, only one of whom is a party to the matter, have filed

    briefs in opposition to President Trump's initial motion. President Trump has not been given the

    opportunity to respond to one of them. In parallel, albeit less egregious circumstances, the Court

    afforded the State an additional two weeks to respond to a then-new filing by Ms. Latham.

    President Trump seeks only the same courtesy. Though he originally sought to reply only to the

    State and the Media Intervenors, President Trump now asks for leave to reply to all responsive


    1
     An amicus brief filed into a Superior Court case is exceedingly rare. An amicus brief filed into a state non-
    appellate criminal case (as this Court has determined this matter to be) is even more rare and would set a dangerous
    precedent.
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filings. The Court could ameliorate, though not fully cure, the harm to President Trump by

striking the uninvited non-party filings, but that would still leave the State's response unrebutted.


       As circumstances have changed since the Court filed its order denying additional briefing

on the matter-that   yet another nonparty has filed in opposition to his original motion, President

Trump respectfully requests that this Court reconsider his May 16, 2023, Request for Time to

File a Reply.




J
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                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

                                          )
IN RE: SPECIAL PURPOSE                    )   CASE NO. 2022-EX-000024
GRANDJURY                                 )
                                          )
                                          )
                                          )


                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing: MOTION FOR RECONSIDERATION

was served on:

Fulton County District Attorney Fani T. Willis
Chief Senior Assistant District Attorney F. McDonald Wakeford
Fulton County District Attorney's Office
By E-mail and Hand Delivery

Kieran J. Shanahan
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Thomas M. Clyde
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                                                 Respectfully submitted,


This 24th day of May, 2023.


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